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AO 199A (Rev. 06/19) Order Setting Conditions of Release
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                                                                                      3                                       3     Pages



                                      UNITED STATES DISTRICT COURT                                                        FILED
                                                                        for the
                                                                                                                         Nov 01, 2022
                                                           Eastern    District of   California                        CLERK, U.S. DISTRICT COURT
                                                                                                                    EASTERN DISTRICT OF CALIFORNIA



                    United States of America                               )
                               v.                                          )
                                                                           )        Case No.         1:22-cr-00282-JLT-SKO
                        MICHAEL DUGAN                                      )
                               Defendant                                   )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:              U.S. DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
                                                                                             Place
      2500 TULARE STREET, SUITE 1501, FRESNO CALIFORNIA, 93721 -Courtroom 9 - Magistrate Judge Stanley A. Boone.

      on                                                     Status re: Treatment, 1/18/2023, 9:30 AM
                                                                          Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.




                               RELEASE DELAYED UNITL
                                      11/07/2022
                                     AT 8:00 AM
                  Case
 AO 199B (Rev. 09/08- EDCA1:22-cr-00282-JLT-SKO                     Document
                           [Fresno]) Additional Conditions of Release (General) 23         Filed 11/01/22 Page 2 of 3Page 2 of                   3 Pages

 DUGAN, Michael
 DOC. NO. 1:22-CR-00282-JLT-SKO

                                               ADDITIONAL CONDITIONS OF RELEASE
                                                                           
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

       (6)      The defendant is placed in the custody of:

                    Name of person or organization

          who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
          defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
          release or disappears.

                    SIGNED: ________________________________
                                    CUSTODIAN
       (7)      The defendant must:
                (a) report on a regular basis to the following agency:
                      Pretrial Services and comply with their rules and regulations;
                (b) report in person to the Pretrial Services Agency immediately following your release from custody;
                (c) cooperate in the collection of a DNA sample;
                (d) restrict your travel to the Eastern District of California unless otherwise approved in advance by the pretrial services
                      officer;
                (e) not apply for or obtain a passport or any other travel documents during the pendency of this case;
                (f) not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other dangerous
                      weapon; additionally, you must provide written proof of divestment of all firearms/ammunition currently under your
                      control;
                (g) not associate or have any contact with co-defendants unless in the presence of counsel;
                (h) report any contact with law enforcement to your pretrial services officer within 24 hours;
                (i) abstain from the use of alcohol or any use of a narcotic drug or other controlled substance without a prescription by a
                      licensed medical practitioner; and you must notify Pretrial Services immediately of any prescribed medication(s).
                      However, medicinal marijuana, prescribed or not, may not be used;
                (j) submit to drug and/or alcohol testing as approved by the pretrial services officer. You must pay all or part of the costs
                      of the testing services based upon your ability to pay, as determined by the pretrial services officer;
                (k) participate in the substance abuse treatment program at WestCare impatient facility, and comply with all the rules and
                      regulations of the program. You must remain at the inpatient facility until released by the pretrial services officer;
                      a. A responsible party, approved by Pretrial Services, must escort you to all required court hearings and escort
                           you back to the inpatient facility upon completion of the hearing;
                (l) upon successful completion of the residential program, reside at an address approved by Pretrial Services and you must
                      not change your residence or absent yourself from this residence for more than 24 hours without the prior approval of
                      the pretrial services officer;
                (m) upon successful completion of the residential program, participate in a program of medical or psychiatric treatment,
                      including treatment for drug or alcohol dependency, as approved by the pretrial services officer. You must pay all or
                      part of the costs of the counseling services based upon your ability to pay, as determined by the pretrial services officer;
                (n) upon successful completion of the residential program, seek and/or maintain employment and provide proof of same
                      as requested by your pretrial services officer;
                (o) not use or possess any identification, mail matter, access device or any identification-related material other than in your
                      own legal or true name;
                (p) not open any bank accounts, lines of credit, or credit card accounts, unless approved in advance by pretrial services;
                (q) not engage in any gambling or enter any gambling establishments;
                (r) upon successful completion of the residential program, participate in the following location monitoring program
                      component and abide by all the requirements of the program, which will include having a location monitoring unit
                      installed in your residence and a radio frequency transmitter device attached to your person. You must comply with all
                      instructions for the use and operation of said devices as given to you by the Pretrial Services Agency and employees
                      of the monitoring company. You must pay all or part of the costs of the program based upon your ability to pay as
                      determined by the pretrial services officer;
                       Curfew. You are restricted to your residence every day from 8:00 pm to 6:00 am, or as adjusted by the Pretrial
                             Services office or supervising officer, for medical, religious services, employment or court-ordered obligations;

                 USMS SPECIAL INSTRUCTIONS:
                  (s) Your release on bond will be delayed until November 7, 2022 at 8:00 am, at which time you will be released to your
                      father, who will transport you immediately to the Fresno Pretrial Services office and then directly to the WestCare
                      inpatient facility in Fresno.
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✕

    Nov 1, 2022

                                                                       Stanley A. Boone-United States Magistrate Judge
